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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Eastern District
                                             __________  DistrictofofCalifornia
                                                                      __________


                  United States of America                     )
                             Plaintiff                         )
                                v.                             )      Case No.     1:24-CR-00154-NODJ-BAM
                   Mohammad Alhashemi                          )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Mohammad Alhashemi                                                                                           .


Date:          07/17/2024                                                                /s/ Kevin Rooney
                                                                                         Attorney’s signature


                                                                                     Kevin P. Rooney 107554
                                                                                     Printed name and bar number



                                                                                     2445 Capitol Street #215
                                                                                        Fresno, CA 93721
                                                                                               Address

                                                                                    kevin@hammerlawcorp.com
                                                                                            E-mail address

                                                                                          (559) 233-5333
                                                                                          Telephone number

                                                                                          (559) 233-4333
                                                                                             FAX number
